                                                                                Case 3:17-cv-05211-WHA Document 80 Filed 10/18/17 Page 1 of 2



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                                                                          6                           IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
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                                                                         10   THE REGENTS OF THE UNIVERSITY OF
                                                                         11   CALIFORNIA and JANET NAPOLITANO,
United States District Court




                                                                              in her official capacity as President of the                 No. C 17-05211 WHA
                                                                              University of California,                                    No. C 17-05235 WHA
                               For the Northern District of California




                                                                         12                                                                No. C 17-05329 WHA
                                                                         13                  Plaintiffs,                                   No. C 17-05380 WHA

                                                                         14     v.

                                                                         15   UNITED STATES DEPARTMENT OF                                  ORDER TO COMPILE
                                                                              HOMELAND SECURITY and ELAINE                                 SUPPLEMENT FORTHWITH
                                                                         16   DUKE, in her official capacity as Acting
                                                                              Secretary of the Department of Homeland
                                                                         17   Security,

                                                                         18                  Defendants.
                                                                                                                          /
                                                                         19
                                                                         20           In light of the March 5 expiration of DACA and in order to keep this group of cases on

                                                                         21   track and to avoid delay due to tardy compliance with yesterday’s order, defendants shall

                                                                         22   immediately begin compiling the supplemental materials ordered yesterday for the

                                                                         23   administrative record and shall have the full supplement ready by the due date of OCTOBER 27.

                                                                         24          Defendants shall do so regardless of whether or not they may seek a writ of mandate.

                                                                         25   Even if defendants seek relief from the court of appeals, that court may wish to review in

                                                                         26   camera the supplemental materials, or if that court orders supplementation in full or partial

                                                                         27   compliance with yesterday’s order, the supplemental materials will be ready to use.

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                                                                          1          This will avoid unnecessary delay. The Court implores government counsel to remain
                                                                          2   on top of this process.
                                                                          3
                                                                          4          IT IS SO ORDERED.
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                                                                          6   Dated: October 18, 2017.
                                                                          7                                                        WILLIAM ALSUP
                                                                                                                                   UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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